













NUMBER 13-08-00531-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


______________________________________________________________

	

JOSE R. CARRERAS, M. D., 	Appellant,


v.



JOSE VILLARREAL AND SONIA VILLARREAL,	Appellees. 

_____________________________________________________________


On appeal from the 206th District Court 


of Hidalgo County, Texas.


______________________________________________________________


MEMORANDUM OPINION


	

Before Justices Yañez, Garza, and Vela


Memorandum Opinion Per Curiam


	Appellant perfected an appeal from a judgment entered by the 206th District Court
of Hidalgo County, Texas, in cause number C-2374-07-D.  Appellant has filed an
unopposed motion to dismiss the appeal.  Appellant requests that this Court dismiss the
appeal.

	The Court, having considered the documents on file and appellant's unopposed
motion to dismiss the appeal, is of the opinion that the motion should be granted.  See Tex.
R. App. P. 42.1(a).  Appellant's motion to dismiss is granted, and the appeal is hereby
DISMISSED.  Costs will be taxed against appellant. See Tex. R. App. P. 42.1(d) ("Absent
agreement of the parties, the court will tax costs against the appellant.").  Having dismissed
the appeal at appellant's request, no motion for rehearing will be entertained, and our
mandate will issue forthwith.


							PER CURIAM

Memorandum Opinion delivered and 

filed this the 15th day of January, 2009. 





	


